         Case
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     Attorney for the United States of America
7
                 UNITED STATES DISTRICT COURT
8
                      DISTRICT OF NEVADA
9                                          -oOo-

     UNITED STATES OF AMERICA,               )
10                                           )   Case No.: 2:16-cr-00294-JCM-VCF
                                             )
11                 Plaintiff,                )   STIPULATION TO CONTINUE
                                             )   GOVERNMENT’S RESPONSE TO
12         vs.                               )   DEFENDANT’S MOTION TO
                                             )   DISMISS (ECF No. 88)
     JASON GOLDSBY,                          )
13                                           )
                                             )
14                 Defendant.                )

15
                 IT IS HEREBY STIPULATED AND AGREED, by and between Dayle
16
     Elieson, United States Attorney; and Cristina Silva, Assistant United States
17
     Attorneys, counsel for the United States of America, and Mace Yampolsky, Esq.,
18
     counsel for defendant JASON GOLDSBY, for the reasons set forth herein, that the
19
     Government’s response to defendant’s motion to dismiss (ECF No. 88), which is
20
     currently due on February 12, 2018, be continued for two days.
21

22   …

23   …
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         Case
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1               The parties respectfully requests that this stipulation be granted for the

2    following reasons:

3               1. With the exception of one section, co-Defendant Rudy Redmond filed a

4    substantially similar motion to dismiss. See ECF No. 92. For judicial efficiency

5    purposes, the United States would like to respond to the motions in one response.

6               2. Counsel for the Defendant does not have an objection to the brief

7    continuance of the response deadline.

8               3. The defendant is in custody and but does not object to the brief

9    continuance of the response deadline.

10              4. This is the first request for continue the response to the motion to

11   dismiss.

12
                DATED this 12th day of February, 2018.
13
                                                   DAYLE ELIESON
14                                                 United States Attorney

15        /s/                                            /s/
     MACE YAMPOLSKY, ESQ.                          CRISTINA D. SILVA
16   Counsel for the Defendant                     Assistant United States Attorney

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         Case
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1                   UNITED STATES DISTRICT COURT
2                        DISTRICT OF NEVADA
                                               -oOo-
3
     UNITED STATES OF AMERICA,                   )
                                                 ) Case No.: 2:16-cr-00294-LRH-VCF
4                                                )
                    Plaintiff,                   ) ORDER
5                                                )
           vs.                                   )
6                                                )
     JASON GOLDSBY,                              )
                                                 )
7                                                )
                    Defendant.                   )
8

9                                        FINDINGS OF FACT

10         Based on the pending Stipulation of counsel, and good cause appearing

11   therefore, the Court finds that:

12               1. With the exception of one section, co-Defendant Rudy Redmond filed a

13   substantially similar motion to dismiss. See ECF No. 92. For judicial efficiency

14   purposes, the United States would like to respond to the motions in one response.

15               2. Counsel for the Defendant does not have an objection to the brief

16   continuance of the response deadline.

17               3. The defendant is in custody and but does not object to the brief

18   continuance of the response deadline.

19               4. This is the first request for continue the response to the motion to

20   dismiss.

21               For all of the above-stated reasons, the end of justice would best be served

22   by a day two continuation of the Government’s deadline to respond to Defendant’s

23   motion to dismiss. ECF No. 88.

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                                                 3
         Case
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1                                          ORDER

2          IT IS ORDERED that the Government’s deadline to respond to the

3    Defendant’s motion to dismiss, that was scheduled for February 12, 2018, be vacated

4    and continued to February 14, 2018.

5

6          DATED February
                 this ____ 13,
                           day2018.
                               of February, 2018.

7

8                                          _______________________________________
                                           THE  HONORABLE
                                           UNITED             CAM FERENBACH
                                                   STATES DISTRICT    JUDGE
9                                          United States Magistrate Judge

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